USCA4 Appeal: 24-4543   Doc: 22   Filed: 02/20/2025   Pg: 1 of 4




                   THIS CASE HAS NOT BEEN SET FOR ORAL ARGUMENT

                         UNITED STATES COURT OF APPEALS
                             FOR THE FOURTH CIRCUIT
                              _________________________
                                      No. 24-4543
                                  1:21-cr-00458-JKB-1
                              _________________________

        UNITED STATES OF AMERICA,                          Appellee,

              v.

        ELIAS COSTIANES, JR.,                              Appellant.


             APPELLANT’S REPLY TO GOVERNMENT RESPONSE TO
          EMERGENCY MOTION FOR INJUNCTION, STAY, AND MOTION TO
                       EXPEDITE PENDING APPEAL



                                                                     Roger I. Roots
                                                                Appellant’s Counsel
                                                                   John Pierce Law
                                                         21550 Oxnard St. 3rd Floor
                                                                         PMB #172
                                                                Woodland Hills, CA
                                                                     775-764-9347
                                                          rroots@johnpiercelaw.com

                                                                     Carolyn Stewart
                                                      Appellant's Pro Bono Counsel
                                                 (Circuit Bar application processing)
                                                            Stewart Country Law PA
                                                                    1204 Swilley Rd.
                                                                Plant City, FL 33567
                                                                      (813) 659-5178
                                                 Carolstewart_esq@protonmail.com
USCA4 Appeal: 24-4543     Doc: 22          Filed: 02/20/2025   Pg: 2 of 4




              Appellant, ELIAS COSTIANES, JR., respectfully submits this Reply that

        concurs and is in support of the Government’s Response at Document 20-1

        ("Response"). The Government agreed that Mr. Costianes’ case falls under the

        Presidential Pardon, and that he should immediately be released from incarceration.

              He respectfully requests that this Court Order that the U.S. Marshals and BOP

        immediately release Mr. Costianes from the Northeast Ohio Corrections Center

        (NEOCC) where he is presently incarcerated, vacate the judgment of the district

        court, moot the current appeal in this Court, and remand the case to the district court

        with instructions for dismissal.

              In addition to the release Order, the standard language used in the D.C. Circuit

        that this honorable Court may consider for the vacatur under the pardon is:

                     Upon consideration of the unopposed motion to vacate convictions
                     and remand for dismissal, it is
                     ORDERED that the judgment of the district court be vacated and
                     the case be remanded with instructions to dismiss the case as moot.
                     See United States v. Schaffer, 240 F.3d 35, 37–38 (D.C. Cir. 2001) (en
                     banc) . . . . The Clerk is directed to issue the mandate forthwith to the
                     district court.

              Wherefore, in conclusion Mr. Costianes requests the Court grant and Order

        the relief requested and as supported in the Response: immediate release, vacatur of

        the lower Court’s judgment, remand to the lower court for dismissal, and mooting of

        the present appellate case.




                                                    2
USCA4 Appeal: 24-4543   Doc: 22   Filed: 02/20/2025   Pg: 3 of 4




        February 20, 2025                      Respectfully Submitted,

                                               /s/ Carolyn Stewart
                                               Carolyn Stewart
                                               Appellant's Pro Bono Counsel
                                               Stewart Country Law PA
                                               1204 Swilley Rd.
                                               Plant City, FL 33567
                                               (813) 659-5178
                                               Carolstewart_esq@protonmail.com

                                               /s/ Roger I. Roots
                                               Roger I. Roots
                                               Appellant’s Counsel
                                               John Pierce Law
                                               21550 Oxnard St. 3rd Floor
                                               PMB #172
                                               Woodland Hills, CA
                                               775-764-9347
                                               rroots@johnpiercelaw.com




                                           3
USCA4 Appeal: 24-4543     Doc: 22       Filed: 02/20/2025    Pg: 4 of 4




                              CERTIFICATE OF COMPLIANCE

                 1. I hereby certify that this motion complies with the type-volume

        limitation of Fed. R. App. P. 27(d)(2)(A) of the Federal Rules of Appellate

        Procedure. As measured by the undersigned's word-processing system used to

        prepare this motion, the Reply contains 235 words.

                2. This document complies with the type style requirements of Fed. R. App.

        P. 32(a)(6), because it has been prepared in a 14 point proportionally spaced roman-

        style typeface (Times New Roman).

              February 20, 2025

                                                             /s/ Carolyn Stewart
                                                             Carolyn Stewart
                                                             Appellant's Counsel


                                    CERTIFICATE OF SERVICE

                     I hereby certify that on this 20th day of February 2025, I caused the

        foregoing Appellant's’ Motion to be served on Appellee by the Court’s electronic

        filing system where the Appellee is registered.

              February 20, 2025

                                                             /s/ Carolyn Stewart
                                                             Carolyn Stewart
                                                             Appellant's Counsel




                                                 4
